                                                                                                                                  sylvester Turner
                                       CITY            OF       HOUSTON
                                                                                                                                  Mayor
                                                                Houston          Public Works
                                                                                                                                  Carol EllInger Haddock, P.E.
                                                                                                                                  Director
                                                                                                                                  P.O. Box 1562
                                                                                                                                  Houston, Texas 77251-1562

                                                                                                                                  832-395-2500
                                                                                                                                  www.publicworks.houstontx.qov




         August 14, 2018

         Dr. Juan Jose Sanchez, CEO
         Southwest Key Programs
         6002 Jain Lane
         Austin, TX 78721

         RE:      Southwest Key Programs Properties

         Dear Mr. Juan          J.   Sanchez,

         Over the course of the past few weeks, conflicting written statements from Southwest Key regarding the proposed
         occupancy of the facllity located at 419 Emancipation have raised concerns that similar discrepancles mlght exist
         between the type of occupant group reported at other Southwest Key facilitiep and the type of occupant group that
         currently occuples each facility. As you are Ilkely aware, the provisions of the Houston Amended Building Code
         are primarily based upon the proposed occupancy group of the structure that is being permitted. Structures that
         have not completed a plan review for their specific occupancy group run the risk of posing a Ilfe and fire safety
         hazard to those that occupy the structure.

         With this in mind, the conflicting statements of Southwest Key have given our department reasonable cause to
         believe conditions may exist In other Southwest Key facilities which make them unsafe, dangerous, and/or
         hazardous. As a result of these concerns, we have recently conducted an inspection of the facility located at 1550
         La Concha Lane. Our inspectors have determined that the existing Group "R2" Certificate of Occupancy that was
         Issued on June 20, 2012 does not correspond to the specific use of the current occupancy type that inhabits the
         facility.

         Thus, the facility located at 1550 La Concha Lane is not in compliance with the requirements of the code for the
         intended occupancy, and shall be immediately brought into compliance. Please submit two complete sets of plans
         that reflect the correct occupancy classification to the Houston Permitting Center for revlew. If you have any
         questions, please contact my office at (832) 394-9555.

         Thank you for your prompt attention                 to thls     matter.




        'MarkiSavasta,     Ñl, CBO, MCP
         Houston Buuaing Official
         Houston Permitting Center
         (832) 394-9555




                                                                             EXHIBIT 6
Council Members:      Brenda Stardig  Jerry Davis     Ellen R. Cohen         Dwight A. Boykins Dave Martin Steve Le   Greg Travls   Karla Cisneros    Robert Gallegos
           Mike    Laster Martha Castex-Tatum     Mike Knox     David   W.   Robinson Michael Kubosh Amanda K. Edwards Jack Christle, D.C. Controller Chris B. Brown
